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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CHRISTOPHER MARK PARIS, and                                             CASE # 8:19-cv-00423
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC

Plaintiffs

v.

WILLIAM LEVINSON,
et al.

Defendants

________________________________/


                               NOTICE OF FILING EXHIBITS

        COMES NOW the Plaintiffs, Christopher Mark Paris and Oxebridge Quality Resources
International, LLC, through undersigned counsel, and files this notice of filing exhibits.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and complete copy of this document was
electronically filed with the clerk of courts in Middle District of Florida on the 19th day of
February 2019.

                                              Respectfully submitted,

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                                              /s/Glen H. Shrayer

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